Case:17-03283-LTS Doc#:17118 Filed:06/21/21 Entered:06/21/21 11:05:42                      Desc: Main
                            Document Page 1 of 2



                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO



  In Re: Financial Oversight & Management Board
                                                     3:17‐BK‐3283 (LTS)
  for Puerto Rico
                                                     PROMESA Title III


  as representative of

                                                     (Jointly Administrated)

  The Commonwealth of Puerto Rico, et al.

  Debtors




                               NOTICE OF DEFECTIVE PLEADING
                               (Notificación de Documento Defectuoso)


  The Clerk of Court has received your pleading on June 17,2021. However, the deficiencies listed
  below have prevented us from filing the same in the case docket. You must submit a corrected
  pleading if you want it to form part of the record.



  La Secretaría del Tribunal recibió su escrito el 17 de junio del 2021. No obstante, las deficiencias
  que abajo se señalan nos impiden aceptarlo y entrarlo en el sumario del caso. Debe usted
  someter un escrito debidamente corregido si quiere que el mismo forme parte del expediente.




                                                                                           Page 1 of 2
Case:17-03283-LTS Doc#:17118 Filed:06/21/21 Entered:06/21/21 11:05:42                                                     Desc: Main
                            Document Page 2 of 2
  NOTICE OF DEFECTIVE PLEADING
  (Notificación de Documento Defectuoso)
  3:17‐BK‐3283 (LTS)


                       Pleading is illegible. L.Civ.R. 10
        1
                       (El escrito radicado es ilegible o no cumple con la R.L.Civ. 10)




                       Lacks proper signature. Documents presented to the court in paper
                       require a handwritten signature. L.Civ.R. 11
        2              (Documento no está firmado adecuadamente. Los documentos sometidos en papel tienen que estar firmados
                       a mano. R.L.Civ. 11)




                       PROMESA Cover Sheet for Adversary Proceedings (DPR Modified
                       PROMESA B1040) was not included. L.Bkcy.R. 7003‐1
        3
                       http://www.prd.uscourts.gov/promesa/forms‐attorneys
                       (No se incluyó la Hoja de Trámite para Casos Adversarios (DPR Modified PROMESA B1040).




                       Failure to pay the filing fee in the amount of $402.00. See, L.Cv.R. 3(a).
                       Payment shall be made within 24 hours in person at the Clerk’s Office
                       U.S. District Court with copy of the complaint /notice of removal.
        4
                       (Incumplimiento con el pago de la cuota de radicación por la cantidad de $400.00. El pago debe hacerse
                       personalmente dentro de 24 horas en la Secretaría del Tribunal Federal de Distrito adjuntando una copia de
                       la demanda / notificación de remoción.)




                       The attached document is non‐compliant with Fed. R. Civ. P. 5(d)(3)(A)
        5        X     and L. Cv. R. 5(a). Counsel is required to file the document electronically
                       via CM/ECF.

                       Other:
                       Wrong case caption format. Please refer to the Order filed on October
        6        X     16, 2017 as Docket Entry No. 1417 in Case No. 3:17‐BK‐3283 (LTS).
                       (Incumplimiento con el formato del título del caso. Favor referirse a la Orden radicada
                       el 16 de octubre de 2017, entrada número 1417 en el Caso No. 3:17‐BK‐3283 (LTS).


                                                                          Date: June 21, 2021
                                                                          MARIA ANTONGIORGI‐JORDAN, ESQ.
                                                                          Clerk of Court

                                                                   By: s/ Marian B. Ramirez Rivera
                                                                       Marian B. Ramirez Rivera
                                                                       Deputy Clerk
  sc: to filer with original filing attached
                                                                                                                         Page 2 of 2
